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JOEL ISRAEL (State Bar No.: 228587)

DARREN NICHOLSON (Pro Hac Vice to be filed)

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Attorneys for Defendants JAY SIMON, JEFF
SIMON, and CASINO SUPPLY COl\/[PANY

IN THE UNITED STA'I`ES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

WESTERN DIVISION

BALLY GAMING, INC., a Nevada
corporation dfb/a/ Bally Technologies

Plaintiff,
vS.
JAY SIMON, an individual; JEFF
SIMON, an individual; and CASINO
SUPPLY COMPANY; and DOES 1-10,

Defendants.

 

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§ CASE No.; 2115-CV-3202
)

) oFFER oF JUDGMENT

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OFFER OF JUDGMENT

 

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TO PLAINTIFF BALLY GAMING, INC. AND ITS ATTORNEY OF
RECORD:

Defendants JAY SIMON, JEFF SIMON, and CASINO SUPPLY
COMPANY (“Defendants”) hereby offer to consent to the jurisdiction of the
United States District Court for the Central District of California for the purpose of
allowing entry of judgment to be taken against them pursuant to Rule 68 of the
Federal Rules of Civil Procedure as follows:

l. A judgment in favor of plaintiff BALLY GAMING, INC. (“Plaintiff’)
and against Defendants, jointly and severally, in the sum of $7,5 74 (seven thousand
five hundred seventy-four dollars) less the amount of costs accrued in favor of the
Plaintiff, with the result that the total judgment amount, including recoverable
costs, which Defendants shall be obligated to pay shall be $7,574. This shall be the
total amount to be paid by Defendants on account of any liability claimed in this
action, including all costs of suit, interest, and/or attorneys’ fees otherwise
recoverable in this action by Plaintiff.

2. An order enjoining Defendants from using, manufacturing, selling,
offering for sale, displaying, advertising, promoting, registering, transferring,
assigning, any trademark, logo, design, or source designation of any kind on or in
connection with Defendants’ goods, products, services, promotional items, domain
names, or websites that uses the term “Blackjack Switch” as set forth in federal
trademark registration, Reg. No. 2,687,935 issued by the USPTO on February 18,
2003.

This offer is not an admission of liability by the Defendants but rather is
made solely for the purpose of compromising a disputed claim.

If Plaintiff does not accept this offer, Plaintiff may become obligated to pay
Defendants’ costs incurred after the making of this offer and have any award of

attorneys’ fees capped as of the date of this offer.

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OFFER OF JUDGMENT

 

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To accept this offer, Plaintiff must serve written notice of acceptance thereof

within fourteen (14) days of the date this offer is made. Pursuant to Federal Rule of

Civil Procedure 5(b)(2)(E), notice of acceptance should be provided electronically

to counsel of record Darren Nicholson at DNicholson@swtriallaw.com.

DATED; May 14, 2015

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Darren Nicholson

 

    
   

Attorneys for Defendants JAY SIMON,
JEFF SIMON, and CASINO SUPPLY
COMPANY

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OFFER OF JUDGMENT

 

